       Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 1 of 31 Page ID #:1




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   Licensing Company, LLC
11
12                              UNITED STATES DISTRICT COURT
13                             CENTRAL DISTRICT OF CALIFORNIA
14
15    HARPO, INC. and OW LICENSING                  CASE NO: ___________
      COMPANY, LLC,
16             Plaintiffs,
17      v.
18    EMBLAZE ONE INC., LIMITLESS X
      INC., JASPREET MATHER, KENNETH
19    HALLER and JOHN DOES 1-30,
20                      Defendants.
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                                            COMPLAINT
     4864-9915-4792\1
      Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 2 of 31 Page ID #:2




 1                                         COMPLAINT
 2         Plaintiffs, Harpo, Inc. (“Harpo”) and OW Licensing Company, LLC (“OW”)
 3   (collectively “Plaintiffs”), by and through their undersigned attorneys, hereby sue
 4   Defendants Emblaze One Inc., Limitless X Inc., Jaspreet Mather, Kenneth Haller and
 5   John Does 1-30 (collectively, “Defendants”) and allege:
 6                                    NATURE OF ACTION
 7         1.     Plaintiffs are privately held companies transacting business, inter alia, in the
 8   entertainment and media industries. Plaintiffs were founded by Ms. Oprah Winfrey.
 9   Ms. Winfrey is one of the most well-known media personalities and entrepreneurs in
10 America. Her fame is so extensive that she is instantly recognized by her first name
11 Oprah alone.
12         2.     Simply being associated with Ms. Winfrey and/or the OPRAH brand has, in
13 many cases, led to an exponential increase in a product’s sales. This has been
14 colloquially referred to as the “The Oprah Effect” or “The O Factor,” as was examined in
15 the 2009 documentary on CNBC titled The Oprah Effect.
16         3.     For this reason, among others, Ms. Winfrey is fiercely protective of her
17 name, image and the OPRAH brand. Her reputation depends, in part, on the quality of
18 the products and services she recommends, which she does only after careful
19 consideration and vetting, through Plaintiffs.
20         4.     This action arises from the unauthorized use of Ms. Winfrey’s celebrity,
21 name, and/or the OPRAH brand to sell gummies, including “weight loss” gummies and
22 CBD gummies. When consumers see advertisements like this one, the only logical
23 conclusion is that Ms. Winfrey and/or her company signed off on the use of “Oprah Keto
24 Pills” and the pills do in fact work:
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                                             COMPLAINT
      Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 3 of 31 Page ID #:3




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14         5.     The unlawful actions of Defendants amount to a willful and conscious
15 disregard for Plaintiffs’ rights and are intentionally designed to capitalize on the
16 goodwill, celebrity and/or fame associated with Ms. Winfrey and/or the OPRAH brand.
17         6.     By this action, Plaintiffs, the holder of all relevant rights in Ms. Winfrey’s
18 name, likeness and persona as well as the OPRAH brand, seek to hold accountable the
19 persons and entities that have duped legions of unsuspecting consumers and illegally
20 profited off of Ms. Winfrey’s name and/or the OPRAH brand to promote and sell
21 “weight loss” gummies and CBD gummies.
22                                        THE PARTIES
23         7.     Plaintiff Harpo is an Illinois corporation, with its principal place of business
24 at 2029 Century Park East, Suite 1530N, Los Angeles, California 90067. Harpo is the
25 owner of the OPRAH family of trademarks
26         8.     Plaintiff OW is a Delaware limited liability company, with its principal
27 place of business at 2029 Century Park East, Suite 1530N, Los Angeles, California
28 90067. OW is the holder of the rights of publicity of Ms. Oprah Winfrey, including but
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                                              COMPLAINT
      Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 4 of 31 Page ID #:4




 1   not limited to the relevant rights in Ms. Winfrey’s name, image and likeness. OW has
 2   the right to assert and enforce Ms. Winfrey’s rights of publicity.
 3         9.     Upon information and belief, Defendant Emblaze One Inc. (“Emblaze”) is a
 4   Nevada corporation with the following associated addresses 4935 McConnell Avenue,
 5   Unit 3, Los Angeles, CA 90666; 9454 Wilshire Blvd., Suite 300, Beverly Hills,
 6   California 90212; 10000 Santa Monica Blvd, Suite PH401, Los Angeles, California
 7   90067; and 1801 Century Park East, 24th Floor, Los Angeles 90067.
 8         10.    Upon information and belief, Defendant Limitless X Inc. (“Limitless”) is an
 9   unregistered corporation with the following associated addresses 4935 McConnell
10 Avenue, Unit 3, Los Angeles, CA 90666; 9454 Wilshire Blvd., Suite 300, Beverly Hills,
11 California 90212 and 10000 Santa Monica Blvd, Suite PH401, Los Angeles, California
12 90067.
13         11.    Upon information and belief, Defendant Jaspreet Mathur is the Chief
14 Executive Office of Defendant Emblaze. Upon information and belief, defendant is
15 doing and transacting business throughout the State of California.
16         12.    Upon information and belief, Defendant Kenneth Haller is the President of
17 Defendant Emblaze. Upon information and belief, defendant is doing and transacting
18 business throughout the State of California.
19         13.    Plaintiffs are unaware of the true names and capacities of defendants,
20 whether individual, corporate, associate or otherwise named herein as Does 1 through 30
21 inclusive, and therefore sues said defendants by such fictitious names (the “Doe
22 Defendants”). Plaintiffs will seek leave to amend this Complaint to state when their true
23 names and capacities are ascertained. The named defendants together with the Doe
24 Defendants are collectively herein referred to as the “Defendants”.
25                               JURISDICTION AND VENUE
26         14.    Harpo’s claims arise under the Trademark Act of 1946, 15 U.S.C. §1051,
27 et seq. (the “Lanham Act”) and under California State law.
28         15.    This Court has original jurisdiction over Harpo’s Lanham Act pursuant to
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                                             COMPLAINT
      Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 5 of 31 Page ID #:5




 1   15 U.S.C. §§ 1114, 1121, 1125 and 28 U.S.C. §§ 1331 and 1338.
 2         16.    This Court has supplemental jurisdiction over the claims in this Complaint
 3   which arise under state law and common law claims pursuant to 28 U.S.C. § 1367(a)
 4   because the state law claims are so related to the federal claims that they form part of the
 5   same case and/or controversy and derive from a common nucleus of operative facts.
 6         17.    Upon information and belief, this Court has personal jurisdiction over
 7   Defendants because they intentionally direct business activities towards and conduct
 8   business with consumers throughout the United States, including within the State of
 9   California and in this District, through at least e-commerce stores, social media and
10 websites.
11         18.    Venue is proper in the United States District Court for the Central District of
12 California under 28 U.S.C. § 1391(b) because a substantial part of the events or
13 omissions giving rise to Plaintiffs’ claims occurred in this judicial District.
14         19.    Specifically, Defendants are engaging in the below described unlawful
15 activities which are directed, in part, to and causing harm within this District including
16 advertising, promoting, marketing, offering to sell, selling, or directly causing the sale
17 and/or shipping of falsely endorsed products into this District.
18                                 FACTUAL BACKGROUND
19 MS. WINFREY’S FAME
20         20.    Ms. Oprah G. Winfrey is an internationally recognized media personality
21 and entrepreneur. As a celebrity, Ms. Winfrey rose to fame in the 1980’s as a talk show
22 host.
23         21.    Since that time, Ms. Winfrey has built a media empire and is also
24 recognized as a taste maker. On an annual basis, she puts out a carefully curated list of
25 OPRAH’S FAVORITE THINGS. Being associated with Ms. Winfrey has, in many
26 cases, led to an exponential increase in a product’s sales.
27         22.    Over the years, Ms. Winfrey has aligned herself with many reputable
28 companies. She is currently an investor and a member of the board of WW International,
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                                              COMPLAINT
      Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 6 of 31 Page ID #:6




 1   Inc., formerly Weight Watchers.
 2         23.    Through the Oprah Winfrey Show, O Magazine and Oprah Daily, among
 3   other content, Ms. Winfrey has continuously covered topics such as lifestyle, health, and
 4   nutrition. She has long encouraged her fans to live a healthy lifestyle.
 5         24.    As a result of Ms. Winfrey’s fame, her name (including her first name when
 6   used alone), image, likeness, and persona enjoy widespread recognition and hold
 7   significant commercial value. Plaintiff OW controls the right to her name, likeness and
 8   persona for commercial purposes.
 9         25.    Accordingly, OW engages in deliberate consideration prior to permitting the
10 commercial use of Ms. Winfrey’s name, image, likeness or persona, to ensure that she is
11 associated only with reputable products, services and/or companies, and to ensure that
12 the value of her name, image, likeness and persona is not diminished either by
13 association with products, services and/or companies which she does not personally
14 support and/or by over-saturation of her name and image.
15         26.    Ms. Winfrey will not voluntarily appear nor will OW allow the use of her
16 name, likeness, or persona in any media for a company or product that has not been
17 vetted and carefully selected based on Ms. Winfrey’s personal values and beliefs. When
18 Ms. Winfrey endorses a company or product, OW is entitled to and receives
19 compensation that is commensurate with the value of the exploitation of Ms. Winfrey’s
20 name, image, likeness, and persona, and protects from any potential diminution in value
21 deriving from the commercial use of Ms. Winfrey’s publicity rights.
22 HARPO’S TRADEMARKS
23         27.    The OPRAH brand rose to prominence in earnest in 1986, with the premiere
24 of The Oprah Winfrey Show (“TOWS”). Over the decades, Harpo and/or its
25 predecessor(s) in interest have and continue to market and/or offer branded entertainment
26 services, media services, educational services and/or related goods and services under the
27 OPRAH and related trademarks. Harpo also licenses the OPRAH family of trademarks
28 after careful consideration and vetting to make sure the products and/or services meet the
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                                             COMPLAINT
      Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 7 of 31 Page ID #:7




 1   brand’s standards.
 2         28.   While the final episode of TOWS aired on television in 2011 after twenty-
 3   five successful seasons, the OPRAH brand continues to grow and has been associated
 4   with other television shows, the OWN television network, magazines, a podcast series, a
 5   book club, films, social media content, live events around the country, and various other
 6   forms of media and entertainment goods and/or services. Over the past thirty-five-plus
 7   years, the OPRAH brand has become well-known and famous.
 8         29.   Harpo is the owner of a family of OPRAH trademarks, including, but not
 9   limited to common law marks and the following marks registered with the United States
10 Patent and Trademark Office:
11    Mark                  Reg.        Reg. Date       Goods/Services
                            No.
12    OPRAH                 1726373     October 20,  “entertainment services rendered
                                        1992         through the medium of television in
13                                                   the nature of a variety talk show
                                                     series” in International Class 41
14    OPRAH                 2521889     December 25, “Computer services, namely,
                                        2001         information via a web site featuring
15                                                   information on the subject matter of
                                                     Applicant’s television programs,
16                                                   films and videos, food and books via
                                                     the Internet” in International Class
17                                                   41, “Computer services, namely,
                                                     information via a web site featuring
18                                                   health, nutrition, fitness,
                                                     volunteerism for charities, charitable
19                                                   work and philanthropic lifestyles via
                                                     the Internet” in International Class
20                                                   42
                            3377275     March 30,    “Providing an Internet website
21                                      2010         featuring information in the field of
                (OPRAH in                            charitable services, namely,
22    script font)                                   volunteer programs and community
                                                     service projects; providing an
23                                                   Internet website promoting public
                                                     awareness of environmental issues
24                                                   and initiatives” in International Class
                                                     35, “Providing an Internet website
25                                                   featuring information in the field of
                                                     personal finance and charitable
26                                                   causes, namely, philanthropic
                                                     monetary donation programs” in
27                                                   International Class 36, “Providing an
                                                     Internet website featuring
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                                            COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 8 of 31 Page ID #:8



     Mark                Reg.      Reg. Date       Goods/Services
1                        No.
                                                   information in the field of home
2                                                  improvement” in International Class
                                                   37, “Providing an Internet website
3                                                  featuring information in the field of
                                                   travel” in International Class 39,
4                                                  “Providing an Internet website
                                                   featuring information in the field of
5                                                  entertainment, books and book
                                                   clubs, education, human interest
6                                                  stories and topics, and party
                                                   planning, and featuring information
7                                                  on the subject matter of Applicant’s
                                                   television programs and radio
8                                                  programs; providing an Internet
                                                   website featuring information in the
9                                                  field of exercise” in International
                                                   Class 41, “Providing an Internet
10                                                 website featuring information in the
                                                   field of home decorating” in
11                                                 International Class 42, “Providing an
                                                   Internet website featuring recipes
12                                                 and cooking information” in
                                                   International Class 43, “Providing an
13                                                 Internet website featuring
                                                   information in the field of beauty,
14                                                 health, wellness and prevention, and
                                                   weight loss” in International Class
15                                                 44, “Providing an Internet website
                                                   featuring information in the field of
16                                                 self improvement, lifestyle,
                                                   relationships, and fashion” in
17                                                 International Class 45
     OPRAH.COM           3765841   March 30,       “Entertainment services rendered
18                                 2010            through the medium of television,
                                                   namely, a series of programs
19                                                 involving book discussion groups,
                                                   and meetings and discussions with
20                                                 authors, relating to books, authors
                                                   and reading; computer on-line
21                                                 services, namely, providing an
                                                   Internet website featuring interactive
22                                                 book discussions and entertainment
                                                   and educational information relating
23                                                 to books, authors and reading” in
                                                   International Class 41
24   THE OPRAH           2638506   October 22,     “Entertainment services rendered
     WINFREY SHOW                  2002            through the medium of television in
25                                                 the nature of a variety talk show
                                                   series; and computer services,
26                                                 namely, providing information via
                                                   an Internet web site featuring
27                                                 information on the subject matter of
                                                   Applicant’s television programs,
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                                       COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 9 of 31 Page ID #:9



     Mark                Reg.      Reg. Date       Goods/Services
1                        No.
                                                films and videos, food, and books”
2                                               in International Class 41, “Computer
                                                services, namely, providing
3                                               information via an Internet web site
                                                featuring health, nutrition, fitness,
4                                               volunteerism for charities, charitable
                                                work and philanthropic lifestyles” in
5                                               International Class 42
     OPRAH’S BOOK        3246379   May 29, 2007 “Series of fiction and non-fiction
6    CLUB                                       books in the fields of lifestyle,
                                                fitness, family, beauty, nutrition,
7                                               diet, romance, relationships, history
                                                and fashion; newsletters featuring
8                                               information on book clubs” in
                                                International Class 16, and “
9                                               Entertainment services rendered
                                                through the medium of television,
10                                              namely, a series of programs
                                                involving book discussion groups,
11                                              and meetings and discussions with
                                                authors, relating to books, authors
12                                              and reading; computer on-line
                                                services, namely, providing an
13                                              Internet website featuring interactive
                                                book discussions and entertainment
14                                              and educational information relating
                                                to books, authors and reading” in
15                                              International Class 41
     OPRAH’S             3078245   April 11,    “Entertainment services rendered
16   FAVORITE                      2006         through the medium of television,
     THINGS                                     namely, an ongoing series of variety
17                                              television programs featuring the
                                                goods and services of others” in
18                                              International Class 41
     OPRAH’S             5093766   December 6, “Providing a website featuring
19   FAVORITE                      2016         consumer information about the
     THINGS                                     goods and services of others via the
20                                              internet; Providing on-line web
                                                directory services featuring
21                                              hyperlinks to websites for goods and
                                                services of others; Providing
22                                              shoppers’ guide information” in
                                                International Class 35, and
23                                              “Providing a website featuring on-
                                                line non-downloadable articles in the
24                                              field of curated list of the goods and
                                                services of others” in International
25                                              Class 41
     OPRAH’S             4219210   October 2,   “Entertainment services, in the
26   LIFECLASS                     2012         nature of an on-going television
                                                series in the fields of human
27                                              behavior, relationships, self-help,
                                                spirituality, personal growth and
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                                       COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 10 of 31 Page ID #:10



     Mark                 Reg.      Reg. Date       Goods/Services
1                         No.
                                                    motivation, personal finance,
2                                                   philanthropic efforts and
                                                    volunteerism; educational services,
3                                                   namely, providing information on
                                                    the Internet and on-line seminars in
4                                                   the fields of human behavior,
                                                    relationships, self-help, spirituality,
5                                                   personal growth and motivation,
                                                    personal finance, philanthropic
6                                                   efforts and volunteerism” in
                                                    International Class 41
7    OPRAH’S NEXT         4321765   April 16,       “Entertainment services, namely, an
     CHAPTER                        2013            on-going television series in the
8                                                   fields of human behavior,
                                                    relationships, self-help, spirituality,
9                                                   personal growth and motivation,
                                                    personal finance, philanthropic
10                                                  efforts and volunteerism;
                                                    Entertainment media production
11                                                  services for television and Internet;
                                                    Providing entertainment information
12                                                  via websites and web pages;
                                                    Providing on-line interviews with
13                                                  celebrities, athletes, politicians and
                                                    other noteworthy persons for
14                                                  entertainment purposes” in
                                                    International Class 41
15   OPRAH’S SUPER 5642150          January 1,      “Entertainment services, namely,
     SOUL                           2019            providing podcasts in the field of
16   CONVERSATIONS                                  human behavior, relationships,
                                                    religion, faith, spirituality, wellness
17                                                  and conscious living, personal
                                                    fulfillment, personal growth and
18                                                  motivation” in International Class 41
     OPRAH’S THE          6428495   July 20, 2021   “Providing a web site featuring
19   LIFE YOU WANT                                  information relating to fitness;
                                                    Providing on-line newsletters in the
20                                                  field of nutrition, weight loss, health,
                                                    wellness and fitness via email” in
21                                                  International Class 41, and
                                                    “Providing a website featuring
22                                                  information about health, wellness,
                                                    nutrition and weight loss” in
23                                                  International Class 44
     OPRAH MEDIA          5304997   October 10,     “Media buying services for others,
24   GROUP                          2017            namely, advising the client how
                                                    much media time, and at what times
25                                                  the client should be purchasing
                                                    advertising; market media research
26                                                  and media marketing consultation;
                                                    agencies for advertising time and
27                                                  space, namely, planning, buying and
                                                    negotiating commercial contracts for
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                                        COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 11 of 31 Page ID #:11



     Mark                 Reg.      Reg. Date       Goods/Services
1                         No.
                                                    advertising and media space and
2                                                   time for others; business
                                                    management and consulting services
3                                                   in the field of advertising, marketing
                                                    communications, interactive and
4                                                   digital media, media planning and
                                                    buying for advertising; market
5                                                   research and market analysis;
                                                    Advertising services via digital and
6                                                   online mediums; advertising agency
                                                    services” in International Class 35,
7                                                   and “Entertainment media
                                                    production services for television
8                                                   and Internet; Entertainment services,
                                                    namely, development, creation,
9                                                   recordation, production,
                                                    postproduction and distribution of
10                                                  monoscopic and stereoscopic,
                                                    electronic and digital audio and
11                                                  video programs, radio programs,
                                                    television programs, and telefilms;
12                                                  production services, namely, the
                                                    provision of sound stage facilities
13                                                  services for producing video, cinema
                                                    and photography productions” in
14                                                  International Class 41
     OPRAH WINFREY 4368870          July 16, 2013   “Communications services, namely,
15   NETWORK                                        transmitting streamed sound and
                                                    audio-visual recordings via the
16                                                  Internet, cable networks, wireless
                                                    networks, satellite, or interactive
17                                                  multimedia networks; audio and
                                                    video broadcasting services over the
18                                                  Internet; transmission of information
                                                    in the audio-visual field; television
19                                                  broadcasting services; cable
                                                    television broadcasting; satellite
20                                                  television broadcasting; mobile
                                                    media services in the nature of
21                                                  electronic transmission of
                                                    entertainment media content;
22                                                  podcasting services; webcasting
                                                    services; video-on-demand
23                                                  transmission services; providing on-
                                                    line chat rooms and electronic
24                                                  bulletin boards for transmission of
                                                    messages among users in the field of
25                                                  general interest” in International
                                                    Class 38
26   OPRAH WINFREY 4368871          July 16, 2013   “Entertainment services, namely,
     NETWORK                                        multimedia programs in the field of
27                                                  general human interest, distributed
                                                    via various platforms across multiple
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                                        COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 12 of 31 Page ID #:12



     Mark                   Reg.        Reg. Date        Goods/Services
 1                          No.
                                                         forms of transmission media;
 2                                                       providing entertainment information
                                                         regarding ongoing television
 3                                                       programs via a global computer
                                                         network; production of television
 4                                                       programs; production of multimedia
                                                         programs” in International Class 41
 5   OPRAH WINFREY 4526018              May 6, 2014      “note pads; stickers” in International
     NETWORK                                             Class 16
 6   OPRAH WINFREY 5114356              January 3,       “Educational and entertainment
     PRESENTS                           2017             services, namely, programs about
 7   BELIEF                                              spirituality, religion and faith
                                                         accessible by means of television,
 8                                                       satellite, audio, video, web-based
                                                         applications, mobile phone
 9                                                       applications, computer networks and
                                                         other wireless communications
10                                                       networks” in International Class 41
     OPRAH WINFREY 6754689              June 7, 2022     “Providing educational scholarships”
11   SCHOLARS                                            in International Class 36
     PROGRAM
12                 5348132              December 5,      “beach towels, bath towels, textile
                                        2017             napkin” in International Class 24.
13
            (the letter O
14   in a particular font
     and style)
15                          5343107     November 28, “Collars and leashes for pets, pet
                                        2017         clothing; tote bags and beach tote
16          (the letter O                            bags; handbags, duffel bags, duffel
     in a particular font                            bags on wheels, luggage, luggage
17   and style)                                      tags, umbrellas” in International
                                                     Class 18
18
19 These registrations are valid and subsisting, and Registration Nos. 1726373, 2521889,
20 3377275, 3765841, 2638506, 3246379, 3078245, 4219210, 4321765, 4368870, 4368871
21 and 4526018 are incontestable under 15 U.S.C. § 1065. True and accurate copies of the
22 aforementioned trademark registrations are attached collectively as Exhibit A.
23         30.   In addition to these federally registered marks, as well as a large portfolio of

24 trademark registrations around the globe, Harpo owns common law rights in each of the
25 trademarks identified above, as well as in all variations of OPRAH that Harpo has used
26 in connection with entertainment and educational services, media properties, and related
27 products and services (collectively, hereinafter, the “OPRAH Family of Marks”).
28         31.   The OPRAH Family of Marks have been extensively advertised and
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                                             COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 13 of 31 Page ID #:13




 1   promoted in various media in the United States, including through the OPRAH.COM
 2   website (https://www.oprah.com/), various mobile applications, and social media sites
 3   such as Facebook, Instagram, Twitter, and YouTube such that the public perceives the
 4   use of all OPRAH formative marks and any associated use of an O mark as an indication
 5   of source uniquely pointing to Harpo.
 6         32.   The OPRAH mark is distinctive and famous within the meaning of
 7   Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c), and uniquely associated by
 8   consumers with Harpo, its services and products, and Ms. Winfrey, both in the State of
 9   California and the United States as a whole. The OPRAH mark serves as a strong source
10 identifier by virtue of its long use, extensive promotion and long history with American
11 consumers, and entitled to the widest scope of protection under federal and state anti-
12 dilution laws.
13         33.   By virtue of its use and federal trademark registrations, Harpo has the
14 exclusive right to use the OPRAH Family of Marks, and to prevent the use of any marks
15 confusingly similar or dilutive thereto.
16 DEFENDANTS’ UNAUTHORIZED ACTIVITIES
17         34.   Upon information and belief, Defendant Emblaze, Defendant Limitless,
18 Defendant Mather and Defendant Haller in concert with the Doe Defendants have
19 intentionally and conspicuously used Ms. Winfrey’s name and the OPRAH brand for the
20 purpose of advertising, marketing, promoting and offering to sell and causing to be sold
21 unauthorized products.
22         35.   Upon information and belief, Defendants have been advertising, marketing,
23 promoting and offering to sell and causing to be sold unauthorized products under the
24 name “Oprah Winfrey Keto Gummies.”
25         36.   Upon information and belief, Defendants have been advertising, marketing,
26 promoting and offering to sell and causing to be sold unauthorized products via a false
27 and misleading advertisement titled “Oprah Winfrey Keto Gummies Review 2023: Does
28 it Work?”
                                                 12
                                              COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 14 of 31 Page ID #:14




1         37.   True and correct screen shots of advertisements for Defendants’ products
2    using Ms. Winfrey’s name and the OPRAH mark is shown below:
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                                          COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 15 of 31 Page ID #:15




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27         38.   Upon information and belief, Defendants have been advertising, marketing,

28 promoting and offering to sell and causing to be sold unauthorized products via a false
                                              14
                                           COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 16 of 31 Page ID #:16




1    and misleading advertisement titled “Oprah Keto Pills Free Trial More Effective For
2    Weight Loss.”
3          39.   True and correct screen shots of advertisements for Defendants’ products
4    using Ms. Winfrey’s name and the OPRAH mark are shown below:
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                                           COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 17 of 31 Page ID #:17




1          40.   Upon information and belief, Defendants have been advertising, marketing,
2    promoting and offering to sell and causing to be sold unauthorized products via Google
3    Sponsored Links.
4          41.   True and correct screen shots of advertisements for Defendants’ products
5    using Ms. Winfrey’s name and the OPRAH mark are shown below:
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           42.   Upon information and belief, Defendants have been advertising, marketing,
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     promoting and offering to sell and causing to be sold unauthorized CBD gummies via the
23
     URL https://www.urhealthbooster.com/order-oprah-winfrey-cbd-gummies.
24
           43.   Upon information and belief, Defendants have been advertising, marketing,
25
     promoting and offering to sell and causing to be sold unauthorized products via a false
26
     and misleading advertisement titled “Online Pills Shop Oprah Winfrey CBD Gummies
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     Amazon !”
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                                               16
                                            COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 18 of 31 Page ID #:18




1         44.   True and correct screenshots of advertisements for Defendant’ products
2    using Ms. Winfrey’s name and the OPRAH mark are shown below:
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                                          COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 19 of 31 Page ID #:19




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                                        COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 20 of 31 Page ID #:20




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                                        COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 21 of 31 Page ID #:21




 1         45.    Upon information and belief, Defendants have no substantiation to
 2   demonstrate that their “weight loss” gummies perform as advertised and upon
 3   information and belief, such products not perform as advertised.
 4         46.    Upon information and belief, the “weight loss” gummies shipped to
 5   Plaintiffs’ representative after viewing Defendants’ false advertisements using the
 6   OPRAH mark and Ms. Winfrey’s name contained lead, arsenic, and cadmium.
 7         47.    Upon information and belief, Defendants’ entire purpose in using
 8   Ms. Winfrey’s name and the OPRAH mark is to mislead and confuse consumers as to the
 9   source and/or sponsorship of its products, and ultimately sell more unauthorized
10 products.
11         48.    At no time did Plaintiffs give permission to Defendants to use
12 Ms. Winfrey’s name, any other publicity rights or the OPRAH mark to promote,
13 advertise, market, offer to sell, sell or cause to be sold Defendants’ products. Nor have
14 Plaintiffs been compensated for Defendants’ unauthorized commercial use of
15 Ms. Winfrey’s name, publicity rights or the OPRAH mark.
16         49.    Such unauthorized acts harm Plaintiff OW by damaging Ms. Winfrey’s
17 rights of publicity and her credibility. Such authorized acts further harm Plaintiff Harpo
18 by irreparably damaging the OPRAH brand.
19         50.    Equally as important, such unauthorized acts damage the consumers who
20 are tricked into purchasing Defendants’ products as a result of the unauthorized use of
21 Ms. Winfrey’s name, rights of publicity and the OPRAH brand.
22         51.    Harpo has no adequate remedy at law.
23                                   CLAIMS FOR RELIEF
24                                FIRST CAUSE OF ACTION
25                           FEDERAL TRADEMARK DILUTION
                                    15 U.S.C. § 1125(c)
26                                 (by Plaintiff Harpo)
27         52.    Plaintiffs restate and incorporate by reference each and every allegation set
28 forth in the foregoing paragraphs as if fully set forth herein.
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                                             COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 22 of 31 Page ID #:22




 1         53.    The OPRAH mark is distinctive and famous, and it is widely recognized by
 2   the general consuming public in the United States as a designation of the source of goods
 3   and services of Plaintiff Harpo, the company owned by Ms. Winfrey, and/or those
 4   authorized or sponsored by Harpo.
 5         54.    The OPRAH mark has been used for decades, and is so nationally and
 6   globally recognized and associated with Harpo as the source of quality goods and
 7   services that the OPRAH mark is entitled to be recognized as famous and distinctive
 8   under 15 U.S.C. §1125(c).
 9         55.    The OPRAH mark has come to have a secondary meaning indicative of
10 origin, relationship, sponsorship and/or association with Harpo and its distinctive
11 reputation. The purchasing public is likely to attribute to Harpo, Defendants’ use of
12 OPRAH as a source of origin, authorization and/or sponsorship for their products, and to
13 purchase such products in the erroneous belief that Defendants are associated with,
14 sponsored by or affiliated with Harpo when in fact, Defendants are not.
15         56.    Harpo has not authorized or licensed the use of the OPRAH mark to
16 Defendants.
17         57.    Defendants’ unauthorized use of the OPRAH mark dilutes the distinctive
18 quality of the OPRAH mark, and harms the reputation of Harpo’s famous mark in
19 violation of Section 43(a) of the Lanham Act, 15 U.S.C § 1125(c).
20         58.    The acts and conduct of Defendants alleged herein occurred after Harpo’s
21 OPRAH mark became famous and continues dilution by blurring and dilution by
22 tarnishment in violation of Section 43(a) of the Lanham Act, 15 U.S.C § 1125(c).
23         59.    Upon information and belief, Defendants’ acts of dilution and tarnishment
24 are willful, deliberate, and in bad faith.
25         60.    Defendants’ acts and conduct have injured Harpo and will continue to cause
26 immediate and irreparable injury to Harpo, to its goodwill and reputation, and to the
27 public, and will continue to threaten such injury unless enjoined by this Court.
28         61.    Harpo is entitled to injunctive relief and to recover Harpo’s actual damages
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                                                COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 23 of 31 Page ID #:23




 1         62.    and an award of profits, as well as costs and reasonable attorney’s fees,
 2   under 15 U.S.C. §§ 1025(c), 1116, and 1117.
 3         63.    Harpo has no adequate remedy at law.
 4                                SECOND CAUSE OF ACTION
 5                        FEDERAL TRADEMARK INFRINGEMENT
                                    15 U.S.C. § 1114(1)
 6                                 (by Plaintiff Harpo)
 7         64.    Plaintiffs restate and incorporate by reference each and every allegation set
 8   forth in the foregoing paragraphs as if fully set forth herein.
 9         65.    Defendants’ conduct constitutes trademark infringement of Harpo’s
10 OPRAH Family of Marks in violation of Section 32(a) of the Lanham Act, 15 U.S.C.
11 § 1114.
12         66.    Defendants’ actions are willful and reflect an intent to confuse consumers
13 and profit from the goodwill and consumer recognition associated with Harpo and its
14 OPRAH Family of Marks.
15         67.    Harpo has been, and will continue to be, damaged and irreparably harmed
16 by the actions of Defendants, which will continue unless Defendants are enjoined by this
17 Court. Harpo is therefore entitled to injunctive relief pursuant to 15 U.S.C. § 1116.
18         68.    Harpo is also entitled to actual monetary damages in an amount to be
19 determined at trial, and to any profits made by Defendants in connection with their
20 infringing activities.
21         69.    Defendant’s infringement of the registered OPRAH Family of Marks is
22 deliberate, willful, and without extenuating circumstances, and constitutes a knowing use
23 of Harpo’s trademarks. Defendant’s infringement is thus an “exceptional case” within
24 the meaning of section 35(a) of the Lanham Act, 15 U.S.C. § 1117(a). Harpo is therefore
25 entitled to recover three times the amount of its actual damages and the attorneys’ fees
26 and costs incurred in this action, as well as prejudgment interest.
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                                              COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 24 of 31 Page ID #:24




 1                                 THIRD CAUSE OF ACTION
 2       UNFAIR COMPETITION, FALSE DESIGNATION AND SPONSORSHIP
                          15 U.S.C. § 1125(a)(1)(A)
 3                      (by Plaintiffs Harpo and OW)
 4         70.    Plaintiffs restate and incorporate by reference each and every allegation set
 5   forth in the foregoing paragraphs as if fully set forth herein.
 6         71.    Defendants’ use of Ms. Winfrey’s name and/or persona and the use of the
 7   OPRAH trademark to promote, advertise, market and offer for sale their products are
 8   without authority or permission of Harpo and such use is likely to cause confusion, to
 9   cause mistake and/or to deceive consumers within the State of California and throughout
10 the United States. Defendants’ unauthorized use of Plaintiff’s name, likeness, and/or
11 persona and the OPRAH mark constitutes a false designation of origin, a false or
12 misleading description and representation of fact, which is likely to cause confusion and
13 to cause mistake, and to deceive as to the affiliation, connection, sponsorship, or
14 association of Defendants with Harpo.
15         72.    Defendants’ conduct constitutes unfair competition and the use of false
16 designations of origin in violation of Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C.
17 § 1125(a)(1)(A).
18         73.    Defendants’ actions are willful and reflect an intent to confuse consumers
19 and profit from the goodwill and consumer recognition associated with Ms. Winfrey’s
20 name, likeness, and/or persona, Harpo and the OPRAH Family of Marks.
21         74.    Harpo has been, and will continue to be, damaged and irreparably harmed
22 by the actions of Defendants, which will continue unless Defendants are enjoined by this
23 Court. Harpo is therefore entitled to injunctive relief pursuant to 15 U.S.C. § 1116.
24         75.    Harpo is also entitled to actual monetary damages in an amount to be
25 determined at trial and to any profits made by Defendants in connection with its unfairly
26 competitive activities.
27         76.    Defendants’ unfair competition and false designation of origin are
28 deliberate, willful, and without extenuating circumstances. Defendants’ conduct is thus
                                                 23
                                              COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 25 of 31 Page ID #:25




 1   an “exceptional case” within the meaning of Section 35(a) of the Lanham Act, 15 U.S.C.
 2   § 1117(a). Harpo is therefore entitled to recover three times the amount of action
 3   damages and the attorneys’ fees and costs incurred in this action, as well as prejudgment
 4   interest.
 5                                FOURTH CAUSE OF ACTION
 6                                    FALSE ADVERTISING
                                      15 U.S.C. § 1125(a)(1)(B)
 7                                       (by Plaintiff OW)
 8          77.   Plaintiffs restate and incorporate by reference each and every allegation set
 9   forth in the foregoing paragraphs as if fully set forth herein.
10          78.   Defendants use Ms. Winfrey’s name and/or persona as described herein
11 without Harpo’s authority in order to create the perception that Ms. Winfrey
12 (a) endorses, sponsors, or is affiliated with, Defendants’ products and/or (b) consent to or
13 authorizes Defendants to use Ms. Winfrey’s name and/or persona to advertise, promote,
14 and market their products.
15          79.   Ms. Winfrey’s name is prominently displayed in the advertisements, which
16 include links leading consumers to the website to purchase the products in question.
17          80.   Defendants’ use of Ms. Winfrey’s name and/or persona to advertise,
18 promote and market their products as described herein is false and misleading.
19          81.   Defendants’ unauthorized use of Ms. Winfrey’s name and/or persona as
20 described herein constitutes false advertising by suggesting or implying, among other
21 things, that Ms. Winfrey sponsors or endorses the products, or consents to or authorizes
22 the use of her name and/or persona in connection with the advertisement, promotion, and
23 marketing of the products.
24          82.   Defendants’ false advertising described above likely confuses consumers as
25 to whether Ms. Winfrey has a part in the manufacturing, sponsoring, or endorsement of
26 the products.
27          83.   Defendants’ unauthorized use of Ms. Winfrey’s name and/or persona as
28 described herein willfully violates 15 USC § 1125(a)(1)(B).
                                                 24
                                              COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 26 of 31 Page ID #:26




 1         84.    Plaintiff has no adequate remedy at law and has sustained irreparable injury
 2   and damage caused by Defendants’ conduct. Absent an entry of an injunction by this
 3   Court, Defendants will continue to wrongfully reap profits and Plaintiffs will continue to
 4   suffer irreparable injury to the goodwill and reputation of Ms. Winfrey, as well as
 5   monetary damages.
 6                                FIFTH CAUSE OF ACTION
 7                    COMMON LAW TRADEMARK INFRINGEMENT
                                (by Plaintiff Harpo)
 8
 9         85.    Plaintiffs restate and incorporate by reference each and every allegation set
10 forth in the foregoing paragraphs as if fully set forth herein.
11         86.    Harpo owns valid common law trademark rights in the OPRAH mark and
12 the Oprah Family of Marks for use in connection with a wide variety of products and
13 services.
14         87.    The public has come to recognize the OPRAH mark and the Oprah Family
15 of Marks as exclusively identify Harpo, and the marks are famous at least in the United
16 States.
17         88.    Defendants have infringed Harpo’s trademarks by using marks identical or
18 confusingly similar thereto to advertise and promote Defendants’ products.
19         89.    Defendants’ unauthorized use of Harpo’s trademark is likely to confuse and
20 deceive consumers as to the origin, sponsorship, and/or endorsement of Defendants’
21 products. Specifically, Defendants’ use of Harpo’s trademarks is likely to cause
22 consumers to mistakenly believe that Ms. Winfrey is associated with Defendants and/or
23 that she or Harpo sponsors or endorses Defendants’ products.
24         90.    As a direct and proximate result of the act of common law trademark
25 infringement describe above, Harpo has suffered actual damage in an amount to be
26 proven at trial.
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                                             COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 27 of 31 Page ID #:27




 1         91.    Defendants’ conduct has been wanton, willful and undertaken in reckless
 2   disregard for the superior rights of the Harpo such that Harpo is entitled to an award of
 3   punitive damages.
 4                                 SIXTH CAUSE OF ACTION
 5                         COMMON LAW UNFAIR COMPLETION
 6         92.    Plaintiffs restate and incorporate by reference each and every allegation set
 7   forth in the foregoing paragraphs as if fully set forth herein.
 8         93.    Defendants’ bad faith conduct constitutes unfair competition in violation of
 9   California common law.
10         94.    Defendants’ conduct has been wanton, willful and undertaken in reckless
11 disregard for the superior rights of the Plaintiff.
12                               SEVENTH CAUSE OF ACTION
13                    UNAUTHORIZED COMMERCIAL USE OF NAME
                               CAL. CIV. CODE § 3344
14                               (By Plaintiff OW)
15         95.    Plaintiffs restate and incorporate by reference each and every allegation set
16 forth in the foregoing paragraphs as if fully set forth herein.
17         96.    OW is the owner of the rights of publicly in Ms. Winfrey’s name, image,
18 likeness, and persona for all relevant purposes.
19         97.    Defendants have willfully and without authorization used Ms. Winfrey’s
20 name for commercial purposes to promote the sale of “weight loss” gummies and CBD
21 gummies.
22         98.    Defendants’ unauthorized use of Ms. Winfrey’s name constitutes a
23 commercial misappropriation in violation of Section 3344 of the California Civil Code.
24         99.    As a direct and proximate result of Defendants’ wrongful conduct, OW has
25 suffered, and will continue to suffer, damages in an amount to be proven at trial.
26         100. Defendants have further been unjustly enriched by their misappropriation of
27 Ms. Winfrey’s statutory right of publicity. Accordingly, OW is entitled to restitution of
28 all income, profits, and other benefits resulting from Defendants’ conduct, in an amount
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                                              COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 28 of 31 Page ID #:28




 1   to be determined according to proof at trial.
 2         101. Defendants’ actions as alleged herein were malicious, oppressive, and
 3   fraudulent, and done with the intent to injure OW and with a willful and conscious
 4   disregard for OW’s rights. As a result, OW is entitled to recover from Defendants
 5   punitive and exemplary damages in an amount sufficient to punish and deter them and
 6   others from engaging in such acts in the future.
 7                               EIGHTH CAUSE OF ACTION
 8               VIOLATION OF COMMON LAW RIGHT OF PUBLICITY
                                (By Plaintiff OW)
 9
10         102. Plaintiffs restate and incorporate by reference each and every allegation set
11 forth in the foregoing paragraphs as if fully set forth herein.
12         103. OW is the owner of the common law rights of publicly in Ms. Winfrey’s
13 name, image, likeness, and persona for all relevant purposes.
14         104. Defendants have willfully and without authorization used Ms. Winfrey’s
15 name for commercial purposes.
16         105. Defendants’ unauthorized behavior constitutes a violation of California
17 common law rights of publicity.
18         106. As a direct and proximate result of Defendants’ wrongful conduct, OW has
19 suffered, and will continue to suffer, damages in an amount to be proven at trial.
20         107. Defendants have further been unjustly enriched by their misappropriation of
21 Ms. Winfrey’s statutory right of publicity. Accordingly, OW is entitled to restitution of
22 all income, profits, and other benefits resulting from Defendants’ conduct, in an amount
23 to be determined according to proof at trial.
24         108. Defendants’ actions as alleged herein were malicious, oppressive, and
25 fraudulent, and done with the intent to injure OW and with a willful and conscious
26 disregard for OW’s rights. As a result, OW is entitled to recover from Defendants
27 punitive and exemplary damages in an amount sufficient to punish and deter them and
28 others from engaging in such acts in the future.
                                                27
                                             COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 29 of 31 Page ID #:29




1                                    PRAYER FOR RELIEF
2          WHEREFORE, Harpo respectfully prays that this Court enters judgment in their
3    favor and against Defendants and provide the following relief:
4       1. Entering judgment declaring that:
5             a. Defendants’ use of the OPRAH mark constitutes dilution by blurring and
6                 tarnishment in violation of 15 U.S.C. §1125(c);
7             b. Harpo’s OPRAH marks have been and continue to be infringed by
8                 Defendants in violation of 15 U.S.C. §1114(1);
9             c. Defendants use of the OPRAH mark constitutes unfair competition in
10                violation of 15 U.S.C. §1125(a);
11            d. Defendants’ use of the OPRAH mark constitutes trademark infringement
12                and under California common law; and
13            e. Defendants’ use of Ms. Winfrey’s name and/or persona constitutes a
14                violation of California statutory and common law rights of publicity;
15      2. An order prohibiting and permanently enjoining Defendants, any officers, agents,
16          subsidiaries, servants, partners, employees, attorneys, and all others in active
17          concert or participation with them, from:
18            a. using the OPRAH Family of Marks and any marks confusingly similar
19                thereto, whether as a standalone brand or as part of another designation of
20                source;
21            b. using, imitating and/or copying Ms. Winfrey’s name, likeness, and/or
22                persona in connection with the promotion, marketing, advertising, selling or
23                offering to sell any products;
24            c. making unauthorized use of Ms. Winfrey’s name, likeness, and/or persona,
25                in connection with the sale of any goods;
26            d. falsely representing themselves as being connected with Plaintiff or
27                Ms. Winfrey, through sponsorship or association, or engaging in any act that
28                is likely to falsely cause members of the trade and/or of the purchasing
                                                28
                                             COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 30 of 31 Page ID #:30




1                public to believe any goods or services of Defendants, are in any way
2                endorsed by, approved by, and/or associated with Plaintiff or Ms. Winfrey;
3                and
4            e. affixing, applying, annexing or using in connection with the sale of any
5                goods, a false description or representation, including words or other
6                symbols tending to falsely describe or represent Defendants’ goods as being
7                those of Plaintiff or Ms. Winfrey, or in any way endorsed by Plaintiff or
8                Ms. Winfrey and from offering such goods in commerce; from engaging in
9                search engine optimization strategies using colorable imitations of the
10               OPRAH mark and/or Ms. Winfrey’s name and from otherwise unfairly
11               competing with Harpo.
12     3. Requiring Defendants, their officers, agents, subsidiaries, servants, partners,
13        employees, attorneys, and all others in active concert or participation with them,
14        to deliver up for destruction all marketing materials or other materials in their
15        possession or control that bear the OPRAH mark or other names or marks that
16        infringe the OPRAH Family of Marks.
17     4. Directing Defendants to file with the Court and serve on counsel for Plaintiff,
18         within thirty days after entry of any injunction issued by the Court in this action, a
19         sworn written statement as provided in 15 U.S.C. § 1116.
20     5. Awarding Plaintiff all profits, enrichments, including punitive damages, and
21         advantages derived from those Defendants’ use of Ms. Winfrey’s name and/or
22         persona pursuant to Cal. Civ. Code § 3344 and Plaintiff OW’s common law right
23         of publicity.
24     6. Awarding Plaintiff reasonable attorneys’ fees, costs, expenses, and interest
25         pursuant to 15 U.S.C. § 1117(a), and other applicable law.
26     7. Awarding Plaintiff damages in the amount sufficient to compensate it for harm
27         caused by the Defendants’ acts.
28     8. Awarding Plaintiff the cost necessary to correct any erroneous impression the
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                                             COMPLAINT
     Case 2:23-cv-04459 Document 1 Filed 06/07/23 Page 31 of 31 Page ID #:31




1         consuming public may have received or derived concerning the nature,
2         characteristics, or qualities of Defendants’ products, including without limitation,
3         the placement of corrective advertising and providing notice to the public.
4      9. Ordering an accounting of Defendants’ profits earned as a result of Defendants’
5         unlawful activities and disgorging all of said profits to Harpo.
6      10. Awarded three times Defendants’ profits and three times Harpo’s damages
7         suffered as a result of Defendants’ willful, intentional, and deliberate acts in
8         violation of the Lanham Act.
9      11. Awarding Plaintiff prejudgment and post judgment interest.
10     12. Granting such other and further relief as the Court deems appropriate and just
11        under the circumstances.
12                               DEMAND FOR JURY TRIAL
13        Plaintiff demands a trial by jury on all issues so triable.
14
     Dated: June 7, 2023                          Respectfully Submitted,
15
                                                  By: /s/ Kent J. Schmidt
16                                                DORSEY & WHITNEY LLP
                                                  Kent J. Schmidt
17                                                600 Anton Boulevard, Suite 2000
                                                  Costa Mesa, CA 92626-7655
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27
                                                  Attorneys for Plaintiffs Harpo, Inc. and OW
28                                                Licensing Company, LLC
                                                30
                                             COMPLAINT
